                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


TIMES PUBLISHING COMPANY,

              Plaintiff,

v.                                                   Case No. 8:23-mc-0014-WFJ-SPF
                                                              8:23-mj-1541-SPF
UNITED STATES OF AMERICA,

            Defendant.
____________________________________/

                                        ORDER
       Before the Court is the Times Publishing Company’s Motion to Intervene for the

Limited Purpose of Obtaining Access to Search Warrant Court Records (8:23-mc-0014-

WFJ-SPF, Doc. 1), the parties’ Joint Notice Under Local Rule 3.09 (Id., Doc. 13), the

United States’ Response (Id., Doc. 17), and the United States’ Motion to Unseal filed in a

related criminal proceeding (8:23-mj-1541-SPF).

       On May 4, 2023, the undersigned found probable cause supported the United

States’ application for a warrant to search 5914 North Tampa Street, Tampa, Florida

33604, for evidence relating to violations of 18 U.S.C. § 1030 (intentional unauthorized

access of a computer), and 18 U.S.C. § 2511 (intentional interception and disclosure of

wire, oral, or electronic communication). The Court approved the search warrant and,

at the United States’ request and in the interests of justice, it sealed the search warrant

application, the search warrant, the affidavit supporting the search warrant, the United
States’ motion to seal these documents, and the Order sealing them. FBI agents executed

the search warrant on May 8, 2023, an act that generated publicity.

       At this juncture, the Times Publishing Company moves to intervene for the

purpose of requesting that the Court unseal the application, warrant, affidavit in support,

motion to unseal, the Court’s Order sealing the documents, and any search warrant

returns (the “Search Warrant Records”). The United States does not oppose the Times

Publishing Company’s motion to intervene or its request to unseal most of the Search

Warrant Records (with minor, unopposed redactions) but does object to the Court

unsealing the search warrant affidavit.

       Upon consideration of the parties’ and the public’s interests, the Court grants the

Times Publishing Company’s unopposed request to intervene. See United States v. Ellis, 90

F.3d 447, 449 (11th Cir. 1996), cert. denied 519 U.S. 1118 (1997); Newman v. Graddick, 696

F.2d 796, 800 (11th Cir. 1983). The Times Publishing Company, as the publisher of a

daily newspaper of general circulation, has standing to intervene to petition the Court for

access to the Search Warrant Records. See, e.g., Comm’r, Ala. Dep’t of Corr. v. Advance Local

Media, LLC, 918 F.3d 1161, 1170 (11th Cir. 2019) (“The press has standing to intervene in

actions to which it is otherwise not a party in order to petition for access to court

proceedings and records.”); Press-Enterprise Co. v. Superior Court of California, 478 U.S. 1,

10, 13 (1986) (recognizing media’s right of access to preliminary proceedings).

       The next issue is the Times Publishing Company’s request to unseal the Search

Warrant Records. Both the First Amendment and common law protect the media and

the public’s right of access to judicial proceedings and records. See Chicago Tribune Co. v.



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Bridgestone/Firestone, Inc., 263 F.3d 1304, 1310-11 (11th Cir. 2001); Nixon v. Warner

Commc’ns, 435 U.S. 589, 597-98 (1978). This “presumption of public access” to judicial

records exists because “access to judicial proceedings is crucial to our tradition and

history, as well as to continued public confidence in our system of justice.” Callahan v.

United Network for Organ Sharing, 17 F.4th 1356, 1358-59 (11th Cir. 2021).                 The

presumption extends to search warrants and the documents filed in support of search

warrant applications. See In re Search of Office Suites for World & Islam Studies Enter., 925 F.

Supp. 738, 742 (M.D. Fla. 1996).

       The parties have conferred, and with limited redactions, the United States agrees

to the unsealing of the Search Warrant Records, except for the agent’s supporting affidavit

(8:23-mc-0014-WFJ-SPF, Doc. 17). After reviewing the proposed redactions, the Court

grants the parties’ requests to unseal the following documents filed in 8:23-mj-1541 (with

the agreed-upon redactions): (1) the search warrant application; (2) the search warrant and

attachments; (3) the motion to seal; (4) the Order granting the seal; and (5) the search

warrant return. The redactions the United States proposes – the subject of the search

warrant’s phone number, the names and signatures of federal special agents, and FBI

investigative numbers and identifiers (see 8:23-mc-0014-WFJ-SPF, Doc. 17) – are

necessary to safeguard both law enforcement and the subject of the search warrant and

protect their legitimate privacy interests. The Court has weighed the public’s interest in

accessing this redacted material against the United States’ interest in keeping the redacted

information under seal, and the scale tips toward the United States. See Romero v.

Drummond Co., 480 F.3d 1234, 1246 (11th Cir. 2007).



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       The remaining issue is the Times Publishing Company’s motion to unseal the

agent’s probable cause affidavit, which the United States opposes. The United States must

articulate a specific, compelling interest that justifies the ongoing seal and must

demonstrate that the seal is no broader than necessary to serve that interest. See In re Search

of Office Suites, 925 F. Supp. At 742; Brown v. Advantage Eng’g, Inc., 960 F.2d 1013, 1015-

16 (11th Cir. 1992). With this in mind, the Court ORDERS:

       (1) The Times Publishing Company’s Motion to Intervene for the Limited Purpose

           of Obtaining Access to Search Warrant Court Records (8:23-mc-0014-WFJ-

           SPF, Doc. 1) is GRANTED in part as follows: the Times Publishing Company

           is permitted to intervene in this matter and the following documents are

           unsealed (with agreed redactions) and filed in the public docket as an

           attachment to this Order: (1) the search warrant, including attachments; (2) the

           search warrant application; (3) the motion to seal the search warrant

           documents; (4) the Order sealing the search warrant documents; and (5) the

           search warrant return, all filed in 8:23-mj-1541-SPF. The Court DEFERS

           RULING on the Times Publishing Company’s request to unseal the agent’s

           affidavit in support of the search warrant, pending further judicial

           consideration.

       (2) Likewise, the United States’ Motion to Unseal is GRANTED in part, as

           specified above. The undersigned DEFERS RULING on the United States’




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   request to maintain the agent’s affidavit under seal.

ORDERED in Tampa, Florida, on May 26, 2023.




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